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                                          March 10, 2025

VIA CM/ECF
The Hon. Richard G. Andrews
Senior District Judge
United States District Court
for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street
Unit 9
Room 6325
Wilmington, DE 19801

         Re:      Lavi, et al v. UNRWA USA National Committee, Inc.
                  C.A. No. 1:24-cv-00312-RGA

Dear Judge Andrews:

        The undersigned represent the Defendant, UNRWA USA National Committee, Inc.
(“UNRWA USA”), in the above-captioned matter. We write in response to Plaintiffs’ March 6,
2025, filing of a Notice of Supplemental Authority. D.I. 38 (“Notice”). Because the Notice
violates the Local Rules of Procedure, the Court should not consider the substantive argument
contained therein. Should the Court be inclined to consider such argument, UNRWA USA
requests the opportunity to provide a substantive response thereto.

         Pursuant to Local Rule of Procedure 7.1.2(b), upon the closing of briefing on a motion, “no
additional papers shall be filed absent Court approval.” D. Del. L.R. 7.1.2(b). The only exception
to this rule is the submission of “subsequent authorities” to the Court. Id. This Court has held that
inclusion of argument in the Notice of Supplemental Authority is impermissible. See Forest
Laboratories, Inc. v. Amneal Pharmaceuticals LLC, 2015 WL 880599, *1 n. 1 (D. Del. Feb. 26,
2015) (declining to consider notices of supplemental authority containing argument). In this case,
the Notice not only contains citation to a decision of the United States District Court for the
Southern District of New York, but also contains substantive argument related to the decision’s
application to this matter. See D.I. 38. This is in violation of Local Rule 7.1.2(b). The Court
should follow the same course as in Forest and disregard the substantive argument contained in
the Notice. In the alternative, the Court should permit UNRWA USA the opportunity to provide
a substantive response.
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       Should the Court have any questions and/or concerns related to the preceding, counsel is
available at the Court’s convenience.

                                           Respectfully submitted,

                                           GORDON REES
                                           SCULLY MANSUKHANI, LLP

                                           /s/ Joseph E. Brenner_____________________
                                           Joseph Brenner


 cc   All counsel of record (via CM/ECF)
